  Case 15-06152-hb             Doc 18      Filed 03/02/16 Entered 03/03/16 00:49:53                       Desc Imaged
                                         Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                                 District of South Carolina



Case Number: 15−06152−hb                                        Chapter: 7

In re:
 Gary Lee Blevins
 aka Gary L Blevins, aka Gary Blevins
                                                                                                     Filed By The Court
                                                       ORDER
  Entered By The Court                          DISCHARGE OF DEBTOR                                       2/29/16
         2/29/16                             ORDER DISCHARGING TRUSTEE                                  Laura A. Austin
                                                ORDER CLOSING CASE                                       Clerk of Court
                                                                                                      US Bankruptcy Court



It appearing that the debtor is entitled to a discharge, IT IS ORDERED:

1. The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).

2. The trustee has certified that the estate of the above−named debtor(s) has been fully administered, therefore, the case
   trustee, is discharged as the trustee of the above named debtors(s) and the bond is canceled.

3. The Chapter 7 case of the above−named debtor(s) is closed.
   AND IT IS SO ORDERED.




                                                                United States Bankruptcy Judge




                            SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
  Case 15-06152-hb          Doc 18     Filed 03/02/16 Entered 03/03/16 00:49:53         Desc Imaged
                                     Certificate of Notice Page 2 of 3


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,         This order does not prevent debtors from paying
and it does not determine how much money, if           any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                   debts according to the reaffirmation agreement.
                                                       11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any              Most debts are discharged
attempt to collect a discharged debt from the          Most debts are covered by the discharge, but not
debtors personally. For example, creditors             all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,        personal liability for debts owed before the
or otherwise try to collect from the debtors           debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise       Also, if this case began under a different chapter
in any attempt to collect the debt personally.         of the Bankruptcy Code and was later converted
Creditors who violate this order can be required       to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.            are discharged.
However, a creditor with a lien may enforce a          In a case involving community property: Special
claim against the debtors' property subject to that    rules protect certain community property owned
lien unless the lien was avoided or eliminated.        by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to          not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

Some debts are not discharged                          Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:         agreement are not discharged.

     ♦ debts that are domestic support                 In addition, this discharge does not stop
       obligations;                                    creditors from collecting from anyone else who is
                                                       also liable on the debt, such as an insurance
                                                       company or a person who cosigned or
     ♦ debts for most student loans;                   guaranteed a loan.


     ♦ debts for most taxes;
                                                        This information is only a general summary
     ♦ debts that the bankruptcy court has              of the bankruptcy discharge; some
       decided or will decide are not discharged        exceptions exist. Because the law is
       in this bankruptcy case;                         complicated, you should consult an
                                                        attorney to determine the exact effect of the
                                                        discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
        Case 15-06152-hb             Doc 18       Filed 03/02/16 Entered 03/03/16 00:49:53                         Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 15-06152-hb
Gary Lee Blevins                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-3                  User: baker                        Page 1 of 1                          Date Rcvd: Feb 29, 2016
                                      Form ID: 166BNC                    Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 02, 2016.
db             +Gary Lee Blevins,    113 Southbrook Drive,   Lexington, SC 29073-6923
542916323       ATTORNEY GENERAL OF UNITED STATES,    950 PENNSYLVANIA AVE, NW,     Washington DC 20530-0001
542916324      +BALTIC INDUSTRIES,    3 CARDINAL COURT, STE 548,    Hilton Head Island SC 29926-3411
542916325      +BREAD EXPRESS INC,    211 ECUM SECUM PLACE,    Conway SC 29527-6972
542916327      +CITIFINANCIAL,    605 MUNN RD E.,   Fort Mill SC 29715-8421
542916328      +DAVID GUNNELLS,    PO BOX 99,   Rodanthe NC 27968-0099
542916329      +DR SCHWEINMAN INC,    PO BOX 11565,   Charlotte NC 28220-1565
542916330      +HORRY COUNTY CLERK OF COURT,    1301 2ND AVENUE,    Conway SC 29526-5209
542916332      +KENNETH T DAVIES,    200 THE WILKIE HOUSE,   2112 EAST SEVENTH STREET,     Charlotte NC 28204-3338
542916334      +MECKLENBURG COUNTY CLERK OF COURT,    832 E 4TH STREET, STE 2132,     Charlotte NC 28202-2810
542916335      +PAUL SCHIMIDT,    2 STATION LOOP,   Bluffton SC 29910-9520
542916337      +RECEIVABLE SOLUTIONS,    1325 GARNERS LN,   STE C,    Columbia SC 29210-8327
542916339      +SEA TURTLE PIZZERIA,    108 BUCKWATER PARKWAY,    Bluffton SC 29910-4127
542916340      +THE AFFLIATED GROUP,    7381 AIRPORT VIEW,   Rochester MN 55902-1875
542916341      +THE HON REBECCA T TIN,    2850 ZEBULON AVENUE,    Charlotte NC 28208-3259

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: QRFANDERSON.COM Feb 29 2016 22:58:00      Robert F. Anderson,    P.O. Box 76,
                 Columbia, SC 29202-0076
542916326       EDI: CAPITALONE.COM Feb 29 2016 22:58:00      CAPITAL ONE,   PO BOX 30281,
                 Salt Lake City UT 84130-0281
542916331       EDI: IRS.COM Feb 29 2016 22:58:00     IRS,    PO BOX 7346,   Philadelphia PA 19101-7346
542916333      +E-mail/Text: scockrell@lex-co.com Feb 29 2016 23:09:18      LEXINGTON COUNTY TREASURER,
                 212 S. LAKE DRIVE,   Lexington SC 29072-3499
542916338      +E-mail/Text: bankruptcy@sctax.org Feb 29 2016 23:09:14      SC DEPT OF REVENUE,    PO BOX 12265,
                 Columbia SC 29211-2265
542916342      +E-mail/Text: USASC-Bankruptcy@usdoj.gov Feb 29 2016 23:09:21       US ATTORNEY’S OFFICE,
                 ATTN DOUG BARNETT,   1441 MAIN ST STE 500,    Columbia SC 29201-2862
542916343       EDI: VAND.COM Feb 29 2016 22:58:00     VANDERBILT MORTGAGE,    500 ALCOA TRAIL,
                 Maryville TN 37804-5516
                                                                                              TOTAL: 7

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
542916336      ##+QUANTUM SERVICES,   6302 E MARTIN LUTHER DRIVE, STE 300,                      Tampa FL 33619-1166
                                                                                                                 TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 02, 2016                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 29, 2016 at the address(es) listed below:
              Jason T. Moss   on behalf of Debtor Gary Lee Blevins jane@mossattorneys.com
              Robert F. Anderson   firm@andersonlawfirm.net, randerson@ecf.epiqsystems.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
                                                                                            TOTAL: 3
